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Attachment (Balance Sheet Income Statement Bank Statements A/R and A/P A Page 1 of 13

                                   3333 Alpharetta Lifehope 10 Acre Land LLC
                                          Balance Sheet (With Period Change)
                                                   Period = Sept 23 2022- Sept 30, 2022
                                                      Book = Accrual ; Tree = ysi_bs
                                                                        Balance            Beginning             Net
                                                                    Current Period         Balance              Change
  1000.00   ASSETS


  1144.00   BUILDING
  1144.10    Building                                                      14,414,648.19      14,414,648.19              0.00
  1144.30    Parking Deck                                                   2,675,622.38       2,675,622.38              0.00
  1144.50    754 STEP UP - BUILDING                                         2,291,000.00       2,291,000.00              0.00
  1144.99      TOTAL BUILDING                                            19,381,270.57      19,381,270.57                0.00


  1147.00   TENANT IMPROVEMENTS
  1147.10    Tenant Improvements                                            9,611,469.00       9,611,469.00              0.00
  1147.99      TOTAL TENANT IMPROVEMENTS                                  9,611,469.00       9,611,469.00                0.00


  1230.00   ACCUMULATED DEPRECIATION
  1230.20    Accum Depr Building                                           -1,611,554.00      -1,611,554.00              0.00
  1230.30    Accum Depr Tenant Improv                                        -510,769.00        -510,769.00              0.00
  1230.70    Accumulated Deprec - 754 Building                                -54,205.00         -54,205.00              0.00
  1230.99      TOTAL ACCUMULATED DEPRECIATION                            -2,176,528.00      -2,176,528.00                0.00
  1240.20    Capitalized Project Cost                                         906,652.18        906,652.18               0.00
  1240.25    Draws                                                              7,000.00           7,000.00              0.00
  1240.99       TOTAL CAPITALIZED PROJECT COST                                913,652.18        913,652.18               0.00


  1270.00   CASH
  1270.10    Cash Operating                                                     9,001.75           9,001.75              0.00
  1270.11    Cash - Capital One Bank                                            1,360.01           1,360.01              0.00
  1270.15    Cash - Operating 2                                                   520.00               520.00            0.00
  1270.99      TOTAL CASH                                                     10,881.76         10,881.76                0.00


  1300.00   RESTRICTED CASH
  1300.10    Escrow Taxes and Insurance                                        66,050.37         66,050.37               0.00
  1300.20    Escrow Capital Impr Reserve                                      648,134.55        648,134.55               0.00
  1300.99      TOTAL RESTRICTED CASH                                        714,184.92         714,184.92                0.00


  1330.00   TENANT RECEIVABLES
  1330.10    A R Base Rent                                                    386,115.69        386,115.69               0.00
  1330.99      TOTAL TENANT RECEIVABLES                                     386,115.69         386,115.69                0.00


  1460.00   INTANGIBLE ASSETS
  1460.40    Loan Costs                                                     1,045,484.20       1,045,484.20              0.00
  1460.99      TOTAL INTANGIBLE ASSETS                                    1,045,484.20       1,045,484.20                0.00


  1464.00   ACCUM AMORT FINANCING COST
  1464.40    Accum Amort Loan Costs                                          -442,993.92        -442,993.92              0.00
  1464.99      TOTAL ACCUM AMORT FINANCING COST                            -442,993.92        -442,993.92                0.00


  1480.00   OTHER INTANGIBLE COST
  1480.10    Leasing Cost Intangible                                        1,617,321.41       1,617,321.41              0.00
  1480.99      TOTAL OTHER INTANGIBLE COST                                1,617,321.41       1,617,321.41                0.00


  1484.00   ACCUM AMORT OTHER INTANGIBLES
  1484.10    Accum Amort Leasing Cost Intangible                             -437,604.00        -437,604.00              0.00
  1484.99      TOTAL ACCUM AMORT OTHER INTANGIBLES                         -437,604.00        -437,604.00                0.00


  1500.00   PREPAID EXPENSES
  1500.50    Prepaid Insurance                                                 -9,908.00          -9,908.00              0.00
  1500.99      TOTAL PREPAID EXPENSES                                         -9,908.00          -9,908.00               0.00


  1999.99   TOTAL ASSETS                                                 30,613,345.81      30,613,345.81                0.00


  2000.00   LIABILITIES AND CAPITAL


  2100.00   LIABILITIES


  2118.00   NOTES PAYABLE
  2118.11    Note Payable - Capital One                                    29,116,408.03      29,116,408.03              0.00
  2118.99      TOTAL NOTES PAYABLE                                       29,116,408.03      29,116,408.03                0.00


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                                    3333 Alpharetta Lifehope 10 Acre Land LLC
                                             Balance Sheet (With Period Change)
                                                     Period = Sept 23 2022- Sept 30, 2022
                                                        Book = Accrual ; Tree = ysi_bs
                                                                          Balance            Beginning           Net
                                                                      Current Period         Balance            Change


  2410.00   NP AP AFFILIATED PARTIES
  2410.30     HPE - Note Payable Affiliate                                    2,639,404.49       2,639,404.49               0.00
  2410.99      TOTAL NP AP AFFILIATED PARTIES                               2,639,404.49       2,639,404.49                0.00


  2414.00   ACCOUNTS PAYABLE
  2414.10     Prepetition Accounts Payable Vendors                               96,358.31         96,358.31                0.00
              Postpetition Accounts Payables                                     19,451.71               0.00          19,451.71
  2414.99      TOTAL ACCOUNTS PAYABLE                                         115,810.02          96,358.31        19,451.71


  2417.00   ACCRUED LIABILITIES
  2417.20     Accrued Property Taxes                                             92,673.57         92,673.57                0.00
  2417.25     Due to From HPM                                                   677,748.26        677,748.26                0.00
  2417.35     Accrued Ground Rent                                                85,480.05         85,480.05                0.00
  2417.99      TOTAL ACCRUED LIABILITIES                                      855,901.88         855,901.88                0.00


  2799.99   TOTAL LIABILITIES                                              32,727,524.42      32,708,072.71        19,451.71


  3000.00   CAPITAL


  3110.10   Initial Capital
  3110.11     Capital Contributions Scott Honan                               1,223,950.00       1,223,950.00               0.00
  3110.25     754 Step Up Capital                                             2,291,000.00       2,291,000.00               0.00
  3800.00     Current YTD Net Income (Loss)                                  -5,629,128.61      -5,609,676.90       -19,451.71
  3899.99      TOTAL CAPITAL                                               -2,114,178.61      -2,094,726.90        -19,451.71


  3999.99   TOTAL LIABILITIES AND CAPITAL                                  30,613,345.81      30,613,345.81                0.00




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                                         3333 Alpharetta Lifehope 10 Acre Land LLC
                                                               Income Statement
                                                      Period = Sept 24, 2022- Sept 30, 2022
                                                          Book = Accrual ; Tree = ysi_is

                                                                                                          TOTAL
     REVENUES
     RENTAL REVENUE
        Aient Management Company, LLC                                                         31,334.25        -
        Pain & Spine Physicians Surgery Center, LLC                                            2,504.00        -
        Pain Physicians of Atlanta                                                            17,288.00        -
        The Center for Advanced Medicine, LLC                                                  6,741.17        -
        The Graivier Center P.C.                                                              17,160.88        -
        The Graivier Center P.C.                                                              88,193.49        -
        The Graivier Center P.C.                                                                               -
        Sonali Bora Enterprises                                                               16,388.75        -
        Alpharetta Medical Associates PC                                                       1,869.94        -
        Revue Pharmacy                                                                         5,164.82        -
                                                                                               5,381.25
        TOTAL RENTAL REVENUE                                                                                   0.00

     TOTAL REVENUES                                                                                            0.00

     RECOVERABLE OPERATING EXPENSE
     CLEANING
      Janitorial Supplies                                                                                      0.00
      Trash Removal                                                                                            0.00
        TOTAL CLEANING                                                                                         0.00

     REPAIRS AND MAINT
      Mgmt Eng Personnel Cost                                                                                 0.00
      Elevator Contract                                                                                       0.00
      Elevator Repair and Maint                                                                               0.00
      HVAC Contract                                                                                           0.00
      HVAC Repairs and Maint                                                                                176.54
      Pest Control                                                                                            0.00
      Building Specialties                                                                                    0.00
      Electrical                                                                                              0.00
      Life Safety Equipment                                                                                   0.00
        TOTAL REPAIRS AND MAINT                                                                             176.54

     UTILITIES
      Electricity                                                                                         17,710.17
      Water and Sewer                                                                                          0.00
        TOTAL UTILITIES                                                                                   17,710.17

     SECURITY
      Monitoring                                                                                               0.00
        TOTAL SECURITY                                                                                         0.00

     ROADS AND GROUNDS
      Exterior Landscape Contract                                                                          1,565.00
       TOTAL ROADS AND GROUNDS                                                                             1,565.00

     ADMINISTRATIVE COSTS
      Telephone/ AT&T                                                                                          0.00
      Logix Communications                                                                                     0.00
      TOTAL ADMINISTRATIVE COSTS                                                                               0.00

     MANAGEMENT FEES
      Property Management Fees                                                                                 0.00
        TOTAL MANAGEMENT FEES                                                                                  0.00


                                                           Income Statement Sept 2022
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                                  3333 Alpharetta Lifehope 10 Acre Land LLC
                                                   Income Statement
                                          Period = Sept 24, 2022- Sept 30, 2022
                                              Book = Accrual ; Tree = ysi_is

                                                                                  TOTAL

     PROPERTY TAXES
      Real Estate Taxes                                                                0.00
       TOTAL PROPERTY TAXES                                                            0.00

     INSURANCE
       Building Insurance                                                              0.00
        TOTAL INSURANCE                                                                0.00

     TOTAL RECOVERABLE OPERATING EXPENSE                                          19,451.71

     OPERATING GROUND LEASE
      Ground/Air Lease                                                                 0.00
       TOTAL OPERATING GROUND LEASE                                                    0.00

     NET OPERATING INCOME                                                         -19,451.71

     CORPORATE G AND A EXPENSES
     CORP G AND A MISC
      Bank Service and Fees                                                            0.00
      Asset Mgmt Fees                                                                  0.00
      Legal Fees                                                                       0.00
        TOTAL CORP G AND A MISC                                                        0.00

     TOTAL CORPORATE G AND A EXPENSES                                                  0.00

     DEPRECIATION AMORT AND INTEREST
      DEPRECIATION EXPENSE
      Building Depreciation Exp                                                        0.00
      Tenant Impr Depreciation Exp                                                     0.00
       TOTAL DEPRECIATION EXPENSE                                                      0.00

     AMORTIZATION EXPENSE
      Loan Cost Amortization                                                           0.00
        TOTAL AMORTIZATION EXPENSE                                                     0.00

     INTEREST EXPENSE
       Capital One                                                                     0.00
        TOTAL INTEREST EXPENSE                                                         0.00
        TOTAL DEPRECIATION AMORT AND INTEREST                                          0.00

     NET INCOME (LOSS)                                                            -19,451.71




                                                Income Statement Sept 2022
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x
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This is a reminder(Balance
   Attachment        about the Withdrawal
                                Sheet Income Limit Fee.Statement
                                                         The Withdrawal  Limit Statements
                                                                       Bank     Fee of $5 for TruistA/R
                                                                                                     savings
                                                                                                         andaccounts
                                                                                                              A/P AandPage
                                                                                                                       $15 for8Truist
                                                                                                                                of 13
money market accounts is assessed per withdrawal over six with a maximum of six withdrawal limit fees per statement cycle. The
Withdrawal Limit Fee applies, regardless of the balance, to all withdrawals and transfers made from a Truist personal savings and/or
money market account including those made at a branch, ATM, by mail or through any electronic means.
Quick tips on avoiding the Withdrawal Limit Fee:
          Use Online or Mobile Banking to monitor the number of withdrawals/transfer made during your monthly statement cycle
          Link any automatic transfers or recurring transactions such as bill payments to your checking account
          Setting up Low Balance Alerts to avoid Overdraft Protection transfers to protected accounts which count toward the
          Withdrawal Limit Fee
          To avoid frequent withdrawals/transfers, try making one or two larger withdrawals/transfers from savings and money market
          accounts
For more information regarding your account see the Truist Personal Deposit Accounts Fee Schedule or Bank Services Agreement.
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                                                                         PSI: 0 / SHC: 0 / LOB :C
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Aging Detail
DB Caption: **LIVE** Richmond Honan 32996 Property: 2017    Status: Current, Past, Future Age As Of: 09/30/2022 Post To: 09/2022
Property      Lease                                                           Current             0-30         31-60         61-90              Over        Pre-        Total
                                                                                Owed             Owed          Owed           Owed          90 Owed     payments        Owed
3333 Alpharetta Lifehope 10 Acre Land LLC (2017)
              Aient Management Company, LLC                                 299,026.00        25,101.24     25,101.24              0.00    248,823.52       0.00    299,026.00
              Pain & Spine Physicians Surgery Center, LLC                       150.00           150.00          0.00              0.00          0.00       0.00       150.00
              Pain Physicians of Atlanta                                        150.00           150.00          0.00              0.00          0.00       0.00       150.00
              The Center for Advanced Medicine, LLC                          18,399.84        18,091.09        308.75              0.00          0.00       0.00     18,399.84
              The Graivier Center P.C.                                       28,499.54        10,112.31      9,619.01              0.00      8,768.22       0.00     28,499.54
              The Graivier Center P.C.                                        3,769.68           321.95        321.95              0.00      3,125.78       0.00      3,769.68
              The Graivier Center P.C.                                       36,120.63        18,622.29     17,498.34              0.00          0.00       0.00     36,120.63
Grand Total                                                               386,115.69        72,548.88      52,849.29           0.00       260,717.52        0.00   386,115.69




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Payables Aging Report
.2017
Period: 09/2022
As of : 09/30/2022
Payee Name                        Payee Address                                    Current       0-30          31-60          61-90          Over          Notes
                                                                                   Owed          Owed          Owed           Owed            90
                                                                                                                                             Owed
Dogwood Facilities Services LLC   1216 Weeping Willow, Woodstock, GA, 30118-4650      1,565.00     1,565.00            0.00           0.00          0.00
Superior Water Services Inc       1236 Channel Park, Marietta, GA, 30065               176.54         176.54           0.00           0.00          0.00
Georgia Power                                                                        17,710.17    17,710.17            0.00           0.00          0.00
TOTAL                                                                              19,451.71     19,451.71         0.00           0.00              0.00




                                                                                        Page 1 of 1
